     Case 1:18-cr-00054-ADA-BAM Document 81 Filed 07/27/20 Page 1 of 2


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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR-00054-DAD-BAM

12                                       Plaintiff,       PRELIMINARY ORDER OF FORFEITURE

13                               v.

14    ABEL GREGORY CASTRO,

15                                       Defendant.

16

17           Based upon the plea agreement entered into between the United States of America and

18   defendant Abel Gregory Castro, it is hereby

19           ORDERED, ADJUDGED and DECREED as follows:

20           1.        Pursuant to 21 U.S.C. § 853(a), defendant Abel Gregory Castro’s interest in the

21   following property shall be condemned and forfeited to the United States of America, to be

22   disposed of according to law:

23                     a. Smith and Wesson .38 caliber revolver, and

24                     b. All ammunition seized.

25           2.        The above-listed assets constitute property, or is property derived from, any

26   proceeds obtained, directly or indirectly, or is property used, or intended to be used, in any

27   manner or part, to commit, or to facilitate the commission of a violation of 21 U.S.C. §§

28   841(a)(1) and 846.
     PRELIMINARY ORDER OF FORFEITURE                      1
     Case 1:18-cr-00054-ADA-BAM Document 81 Filed 07/27/20 Page 2 of 2


 1           3.        Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

 2   authorized to seize the above-listed property. The aforementioned property shall be seized and

 3   held by the U.S. Customs and Border Protection in their secure custody and control.

 4           4.        a. Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States shall

 5   publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney

 6   General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 7   General may direct shall be posted for at least thirty (30) consecutive days on the official

 8   internet government forfeiture site www.forfeiture.gov. The United States may also, to the

 9   extent practicable, provide direct written notice to any person known to have alleged an interest

10   in the property that is the subject of the order of forfeiture as a substitute for published notice as

11   to those persons so notified.

12                     b. This notice shall state that any person, other than the defendants, asserting a

13   legal interest in the above-listed property, must file a petition with the Court within sixty (60)

14   days from the first day of publication of the Notice of Forfeiture posted on the official

15   government forfeiture site, or within thirty (30) days from receipt of direct written notice,

16   whichever is earlier.

17           5.        If a petition is timely filed, upon adjudication of all third-party interests, if any,

18   this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all

19   interests will be addressed.

20   IT IS SO ORDERED.
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         Dated:      July 24, 2020
22                                                          UNITED STATES DISTRICT JUDGE

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     PRELIMINARY ORDER OF FORFEITURE                       2
